              Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 1 of 21




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                         §
                                               §
JULIET HOMES, LP                               §               Case No. 07-36424-H1-7
JULIET GP, LLC                                 §               Case No. 07-36426-H1-7
DOUGLAS A. BROWN                               §               Case No. 07-36422-H1-7
                                               §
         DEBTORS.                              §
                                               §


JOSEPH M. HILL, TRUSTEE                        §
AND W. STEVE SMITH, TRUSTEE,                   §
                                               §
         PLAINTIFFS                            §
                                               §               Adversary No. 09-3429
v.                                             §
                                               §
ALEX ORIA, ET AL                               §
                                               §
         DEFENDANTS.                           §


                 TERRY LUTTRELL’S ANSWER AND AFFIRMATIVE DEFENSES
                      TO TRUSTEE’S SECOND AMENDED COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

         TERRY LUTTRELL, Defendant, files this his Answer to Trustee’s Second Amended Complaint,

and in support thereof, respectfully represents:

         1.      Defendant admits the factual allegations contained in Paragraph 1.

         2.      Defendant admits the factual allegations contained in Paragraph 2.

         3.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 3.

         4.      Defendant lacks sufficient information to admit or deny the factual allegations of

                                                Page 1 of 21
             Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 2 of 21




Paragraph 4.

       5.       Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 5.

       6.       Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 6.

       7.       Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 7.

       8.       Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 8.

       9.       Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 9.

       10.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 10.

       11.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 11.

       12.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 12.

       13.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 13.

       14.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 14.

       15.      Defendant lacks sufficient information to admit or deny the factual allegations of


                                               Page 2 of 21
             Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 3 of 21




Paragraph 15.

       16.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 16.

       17.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 17.

       18.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 18.

       19.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 19.

       20.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 20.

       21.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 21.

       22.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 22.

       23.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 23.

       24.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 24.

       25.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 25.

       26.      Defendant lacks sufficient information to admit or deny the factual allegations of


                                               Page 3 of 21
             Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 4 of 21




Paragraph 26.

       27.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 27.

       28.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 28.

       29.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 29.

       30.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 30.

       31.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 31.

       32.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 32.

       33.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 33.

       34.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 34.

       35.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 35.

       36.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 36.

       37.      Defendant lacks sufficient information to admit or deny the factual allegations of


                                               Page 4 of 21
             Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 5 of 21




Paragraph 37.

       38.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 38.

       39.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 39.

       40.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 40.

       41.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 41.

       42.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 42.

       43.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 43.

       44.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 44.

       45.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 45.

       46.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 46.

       47.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 47.

       48.      Defendant admits the allegations of Paragraph 48.


                                               Page 5 of 21
             Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 6 of 21




       49.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 49.

       50.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 50.

       51.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 51.

       52.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 52.

       53.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 53.

       54.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 54.

       55.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 55.

       56.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 56.

       57.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 57.

       58.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 58.

       59.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 59.


                                               Page 6 of 21
             Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 7 of 21




       60.      Defendant asserts that Paragraph 60 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       61.      Defendant asserts that Paragraph 61 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       62.      Defendant asserts that Paragraph 62 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

Defendant lacks sufficient information to admit or deny the factual allegations of the last two sentences

of Paragraph 62.

       63.      Defendant asserts that Paragraph 63 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       64.      Defendant admits the venue allegations of Paragraph 64.

       65.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 65.

       66.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 66.

       67.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 67.

       68.      Defendant lacks sufficient information to admit or deny the factual allegations of


                                                Page 7 of 21
             Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 8 of 21




Paragraph 68.

       69.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 69.

       70.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 70.

       71.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 71.

       72.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 72.

       73.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 73.

       74.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 74.

       75.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 75.

       76.      Defendant admits the allegations of Paragraph 76.

       77.      Defendant admits the allegations of Paragraph 77.

       78.      Defendant admits the allegations of Paragraph 78.

       79.      Defendant admits the allegations of Paragraph 79.

       80.      Defendant admits the allegations of Paragraph 80.

       81.      Defendant asserts that Paragraph 81 of the Complaint contains no factual allegations to

which he is required to respond. However, in the event that any of the statements in such paragraph


                                                Page 8 of 21
             Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 9 of 21




are deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       82.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 82.

       83.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 83.

       84.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 84.

       85.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 85.

       86.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 86.

       87.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 87.

       88.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 88.

       89.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 89.

       90.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 90.

       91.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 91.

       92.      Defendant lacks sufficient information to admit or deny the factual allegations of


                                                Page 9 of 21
         Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 10 of 21




Paragraph 92.

       93.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 93.

       94.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 94.

       95.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 95.

       96.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 96.

       97.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 97.

       98.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 98.

       99.      Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 99.

       100.     Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 100.

       101.     Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 101.

       102.     Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 102.

       103.     Defendant lacks sufficient information to admit or deny the factual allegations of


                                              Page 10 of 21
         Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 11 of 21




Paragraph 103.

      104.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 104.

      105.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 105.

      106.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 106.

      107.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 107.

      108.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 108.

      109.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 109.

      110.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 110.

      111.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 111.

      112.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 112.

      113.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 113.

      114.   Defendant lacks sufficient information to admit or deny the factual allegations of


                                           Page 11 of 21
         Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 12 of 21




Paragraph 114.

      115.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 115.

      116.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 116.

      117.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 117.

      118.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 118.

      119.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 119.

      120.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 120.

      121.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 121.

      122.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 122.

      123.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 123.

      124.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 124.

      125.   Defendant lacks sufficient information to admit or deny the factual allegations of


                                           Page 12 of 21
         Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 13 of 21




Paragraph 125.

      126.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 126.

      127.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 127.

      128.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 128.

      129.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 129.

      130.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 130.

      131.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 131.

      132.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 132.

      133.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 133.

      134.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 134.

      135.   Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 135.

      136.   Defendant lacks sufficient information to admit or deny the factual allegations of


                                           Page 13 of 21
          Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 14 of 21




Paragraph 136.

       137.    Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 137.

       138.    Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 138.

       139.    Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 139.

       140.    Defendant denies the allegations of Paragraph 140.

       141.    Defendant denies the allegations of Paragraph 141.

       142.    Defendant denies the allegations of Paragraph 142.

       143.    Defendant incorporates his responses to the incorporated allegations of Paragraph 143.

       144.    Defendant incorporates his responses to the incorporated allegations of Paragraph 144.

       145.    Defendant asserts that Paragraph 145 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       146.    Defendant asserts that Paragraph 146 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       147.    Defendant asserts that Paragraph 147 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       148.    Defendant asserts that Paragraph 148 of the Complaint contains legal argument to which he


                                                Page 14 of 21
          Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 15 of 21




is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       149.    Defendant asserts that Paragraph 149 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       150.    Defendant asserts that Paragraph 150 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       151.    Defendant asserts that Paragraph 151 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       152.    Defendant asserts that Paragraph 152 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       153.    Defendant asserts that Paragraph 153 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       154.    Defendant asserts that Paragraph 154 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       155.    Defendant incorporates his responses to the incorporated allegations of Paragraph 155.

       156.    Defendant asserts that Paragraph 156 of the Complaint contains legal argument to which he


                                                Page 15 of 21
          Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 16 of 21




is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       157.    Defendant asserts that Paragraph 157 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       158.    Defendant asserts that Paragraph 158 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       159.    Defendant asserts that Paragraph 159 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       160.    Defendant incorporates his responses to the incorporated allegations of Paragraph 160.

       161.    Defendant asserts that Paragraph 161 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       162.    Defendant asserts that Paragraph 162 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       163.    Defendant asserts that Paragraph 163 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       164.    Defendant asserts that Paragraph 164 of the Complaint contains legal argument to which he


                                                Page 16 of 21
          Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 17 of 21




is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       165.    Defendant incorporates his responses to the incorporated allegations of Paragraph 165.

       166.    Defendant asserts that Paragraph 166 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       167.    Defendant asserts that Paragraph 167 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       168.    Defendant asserts that Paragraph 168 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       169.    Defendant asserts that Paragraph 169 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       170.    Defendant asserts that Paragraph 170 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       171.    Defendant incorporates his responses to the incorporated allegations of Paragraph 171.

       172.    Defendant asserts that Paragraph 172 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.


                                                Page 17 of 21
          Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 18 of 21




       173.     Defendant asserts that Paragraph 173 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       174.     Defendant asserts that Paragraph 174 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       175.     Defendant asserts that Paragraph 175 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       176.     Defendant incorporates his responses to the incorporated allegations of Paragraph 176.

       177.     Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 177.

       178.     Defendant incorporates his responses to the incorporated allegations of Paragraph 178.

       179.     Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 79.

       180.     Defendant incorporates his responses to the incorporated allegations of Paragraph 180.

       181.     Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 181.

       182.     Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 182.

       183.     Defendant incorporates his responses to the incorporated allegations of Paragraph 183.

       184.     Defendant denies the factual allegations of Paragraph 184.


                                                Page 18 of 21
          Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 19 of 21




       185.    Defendant denies the factual allegations of Paragraph 185.

       186.    Defendant asserts that Paragraph 186 of the Complaint contains legal argument to which he

is not required to respond. However, in the event that any of the statements in such paragraph are

deemed to be allegations in support of relief in favor of Plaintiff, Defendant denies such allegations.

       187.    Defendant incorporates his responses to the incorporated allegations of Paragraph 187.

       188.    Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 188.

       189.    Defendant lacks sufficient information to admit or deny the factual allegations of

Paragraph 189.

       190.    Defendant incorporates his responses to the incorporated allegations of Paragraph 190.

       191.    Defendant denies the factual allegations of Paragraph 191.

                                          AFFIRMATIVE DEFENSES

       192.    Defendant asserts the affirmative defense of statute of limitations.

       193.    With respect to the allegations alleged under 11 U.S.C. § 547, Defendant asserts the

following affirmative defenses:

               a.       The Debtor was not insolvent at the time of the alleged transfer.

               b.       The alleged transfer was not made within 90 days before the date of the filing of

                    the petition;

               c.       The Defendant is not an insider.

               d.       The payment was not made to or for the benefit of a creditor.

               e.       The alleged transfer was not made for or on account of an antecedent debt.

               f.       The alleged transfer was not a transfer of an interest of the debtor in property.


                                                Page 19 of 21
          Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 20 of 21




       194.    With respect to the allegations alleged under 11 U.S.C. § 548, Defendant asserts the

following affirmative defenses:

               a.      The alleged transfer was not made with intent to hinder, delay, or defraud any

                    entity to whom the Debtor subsequently became obligated.

               b.      The Debtor received reasonably equivalent value in exchange for the transfer.

               c.      The Debtor was not insolvent at the time of the alleged transfer, nor became

                    insolvent due to such transfer.

               d.      The Defendant is not an insider.

               e.      The Defendant acted in good faith and gave fair value.

               f.      The alleged transfer was not a transfer of an interest of the debtor in property.

       195.    Defendant asserts that to the extent the Trustee’s fraudulent transfer claims are allowed,

Defendant is entitled to a lien on the recovered assets equal to the value given to the Debtor in exchange for

the transfers pursuant to 11 U.S.C. § 548(c) and Texas Business and Commerce Code § 24.009(d)(1)(A).

       196.    Defendant took for value, including satisfaction or securing of a present or antecedent debt,

in good faith, and without knowledge of the voidability of the transfer sought to be avoided.

       197.    Defendant is a good faith transferee.

       198.    Defendant asserts the affirmative defenses of laches, waiver and estoppel.

                                                  JURY DEMAND

       199.    Defendant demands trial by jury.

               WHEREFORE, Terry Luttrell prays that judgment be entered in favor of Defendant; that

       Defendant be awarded costs and reasonable attorney’s fees, and that Defendant receive such other

       relief to which he may be legally and equitably entitled.


                                                 Page 20 of 21
          Case 09-03429 Document 281 Filed in TXSB on 09/01/11 Page 21 of 21




Dated: September 1, 2011.

                                                   /s/ Patrick D. Devine
                                               Patrick D. Devine
                                               State Bar No. 05662200
                                               Law Office of Patrick D. Devine
                                               5120 Woodway Drive, Suite 8002
                                               Houston, Texas 77056
                                               Phone: 832-251-2722
                                               Fax: 713-965-9173
                                               Email: pdevine@pdevinelaw.com


                                               ATTORNEYS FOR TERRY LUTTRELL


                                      CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the foregoing has been served via electronic
mail, ecf electronic mail and/or by first class mail postage prepaid this 1st day of September, 2011,
upon the following and the counsel for the other parties by ecf electronic mail:

       Susan Hardie Jacks
       Mehaffey Weber, P.C. 500
       Dallas, Suite 1200 Houston,
       TX 77002

       Joseph M. Hill
       Theresa Mobley
       Cage, Hill & Niehaus, L.L.P.
       5851 San Felipe, Suite 950
       Houston, Texas 77057

       W. Steve Smith
       Blanche D. Smith
       McFall, Breitbeil & Shults P.C.
       1331 Lamar Street
       Houston, Texas 77010


                                                       /s/ Patrick D. Devine




                                                Page 21 of 21
